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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 AMCO INSURANCE COMPANY ET AL.,

                                            Plaintiff(s),           16CV4422-LTS

                         -v-

 COBANK, ACB,

                                Defendant(s).
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                                                            ORDER



            In light of the pending motion(s), the final pretrial conference scheduled for October 23, 2020,

 is rescheduled to January 22, 2021, at 12:00 noon in Courtroom 17C.


            SO ORDERED.


 Dated: New York, New York
        October 19, 2020

                                                                     /s/ Laura Taylor Swain
                                                                    LAURA TAYLOR SWAIN
                                                                    United States District Judge




CV Order resched conf date pend mot 7.frm version 5/22/09
